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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

y. Case Number. 8:17-cr-566-T-36JSS
USM Number: 63307-018

RANY SMITH .
Stephen A. Leal, Retained

 

JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Counts One and Two of the Information. Defendant is adjudicated guilty of these offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 1349 Conspiracy to Commit Mail and Wire Fraud Beginning on an One

unknown date and
concluding May 2017

18 U.S.C. § 1028A(a)(1) Aggravated Identity Theft On or about October Two
28, 2016

Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change
in the defendant's economic circumstances.

Date of Imposition of Judgment:
March 7, 2018

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CHARLENE EDWARDS HONEYWELL
UNITED STATES DISTRICT JUDGE

March) _, 2018

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IMPRISONMENT

Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of 45 MONTHS. This term consists of terms of 21 months on Count One and a consecutive term of 24 months on
Count Two. The terms of imprisonment imposed by this Judgment shall run consecutive to Defendant's term of
imprisonment imposed pursuant to the Judgment in Docket Number 8:17-cr-137-T-36TBM, United States District Court,
Middle District of Florida, Tampa Division.

Defendant is remanded to the custody of the United States Marshal.
The Court makes the following recommendations to the Bureau of Prisons:

1. Defendant be incarcerated at the closest correctional facility with the appropriate security level to FPC Pensacola
as his first choice, FC] Miami as his second choice and FCC Butner as his third choice.

2. Defendant be considered for the 500 Hour Residential Drug Abuse Program (RDAP), if eligible.
3. Defendant be allowed to participate in vocational training in the areas of auto mechanics and culinary.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, Defendant shall be on supervised release for a term of 3 YEARS. This term
consists of a 3 year term as to Count One and a 1 year term as to Count Two, all such terms to run concurrently.

MANDATORY CONDITIONS

Defendant shall not commit another federal, state or local crime.

Defendant shall not unlawfully possess a controlled substance.

Defendant must refrain from any unlawful use of a controlled substance. Defendant must submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

Defendant shall cooperate in the collection of DNA, as directed by the probation officer.

The mandatory drug testing provisions of the Violent Crime Control Act are waived. However, the Court orders
Defendant to submit to random drug testing not to exceed 104 tests per year

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Defendant shall comply with the standard conditions that have been adopted by this court (set forth on the attached
pages).

Defendant shall also comply with the additional conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of Defendant's supervised release, Defendant must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for Defendant's behavior while on supervision
and identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in Defendant's conduct and condition. ‘

1.

10.

11.

12.

13.

Defendant must report to the probation office in the federal judicial district where Defendant is authorized to reside
within 72 hours of Defendant's release from imprisonment, unless the probation officer instructs Defendant to report
to a different probation office or within a different time frame.

After initially reporting to the probation office, Defendant will receive instructions from the court or the probation
officer about how and when Defendant must report to the probation officer, and Defendant must report to the
probation officer as instructed.

Defendant must not knowingly leave the federal judicial district where Defendant is authorized to reside without first
getting permission from the court or the probation officer.

Defendant must answer truthfully the questions asked by Defendant's probation officer

Defendant must live at a place approved by the probation officer. If Defendant plans to change where Defendant
lives or anything about Defendant's living arrangements (such as the people Defendant lives with), Defendant must
notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is not
possible due to unanticipated circumstances, Defendant must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

Defendant must allow the probation officer to visit Defendant at any time at Defendant's home or elsewhere, and
Defendant must permit the probation officer to take any items prohibited by the conditions of Defendant's
supervision that the probation officer observes in plain view. .

Defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation
officer excuses Defendant from doing so. If Defendant does not have full-time employment Defendant must try to
find full-time employment, unless the probation officer excuses Defendant from doing so. If Defendant plans to
change where Defendant works or anything about Defendant's work (such as Defendant's position or Defendant's
job responsibilities), Defendant must notify the probation officer at least 10 days before the change. If notifying the
probation officer at least 10 days in advance is not possible due to unanticipated circumstances, Defendant must
notify the probation officer within 72 hours of becoming aware of a change or expected change.

Defendant must not communicate or interact with anyone Defendant knows is engaged in criminal activity. If
Defendant knows someone has been convicted of a felony, Defendant must not knowingly communicate or interact
with that person without first getting the permission of the probation officer.

If Defendant is arrested or questioned by a law enforcement officer, Defendant must notify the probation officer
within 72 hours.

Defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous
weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death
to another person, such as nunchakus or tasers).

Defendant must not act or make any agreement with a law enforcement agency to act as a confidential human
source or informant without first getting the permission of the court.

If the probation officer determines that Defendant poses a risk to another person (including an organization), the
probation officer may require Defendant to notify the person about the risk and Defendant must comply with that
instruction. The probation officer may contact the person and confirm that Defendant has notified the person about
the risk.

Defendant must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

 

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. Defendant shall submit to a search of his person, residence, place of business, any storage units under his control,
computer, or vehicle, conducted by the United States Probation Officer at a reasonable time and in a reasonable
manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release.
Defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.
Failure to submit to a Search may be grounds for revocation.

2. Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or obligating
himself for any major purchases, without approval of the probation officer.

3. Defendant shall provide the probation officer access to any requested financial information.

4. Defendant shall refrain from engaging in any employment with access to personal identifying information.

Additionally, if employed, Defendant shall use his legal name only.

CRIMINAL MONETARY PENALTIES

Defendant shall pay the following total criminal monetary penalties under the schedule of payments set forth in
the Schedule of Payments.

Assessment JVTA Assessment’ Fine Restitution

TOTALS $200.00 NIA WAIVED $41 332.67

Defendant shall make restitution (including community restitution) to the following payees in the amount listed
below.

If Defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(),
all nonfederal victims must be paid in full prior to the United States receiving payment.

Name of Payee Total Loss” Restitution Ordered

Clerk, U.S. District Court
ATTN: DCU

401 W Central Boulevard
Suite 1200

Orlando, Florida 32801

for the benefit of:

Purple Square Management Company 19,608.56 $19,608.56
18147 US 19 North
Clearwater, FL 33764

Comenity Bank 21,724.11 $21,724.11
P.O. Box 182273
Columbus, OH 43218

 

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

” Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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SCHEDULE OF PAYMENTS

Special assessment shall be paid in full and is due immediately.

Defendant shall pay restitution in the amount of $19,608.56 to Purple Square Management Company, 18147 US 19 North,
Clearwater, Florida 33764, and $21,724.11 to Comenity Bank at P.O. Box 182273, Coiumbus, Ohio 43218. This restitution
obligation shall be paid to the Clerk, U.S. District Court, for distribution to the victims. While in the Bureau of Prisons custody,
Defendant shall either (1) pay at least $25 quarterly if Defendant has a non-Unicor job or (2) pay at least 50% of his monthly
earnings if Defendant has a Unicor job. Upon release from custody, Defendant shall pay restitution at the rate of $100.00
per month. At any time during the course of post-release supervision, the victim, Government, or Defendant may notify the
Court of a material change in Defendant's ability to pay and the Court may adjust the payment schedule accordingly.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.
Defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of
prosecution and court costs.

FORFEITURE

The Order of Forfeiture (Doc. 20) entered on March 6, 2018, shall be incorporated in this Judgment.

“Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. Case No. 8:17-cr-566-T-36JSS

RANY SMITH,
a/k/a “ABDELMAJID WAHBI”

ORDER OF FORFEITURE

THIS CAUSE comes before the Court upon the United States of
America’s Motion for Order of Forfeiture (Doc. 17), filed on February 9, 2018
against the Defendant in the amount of $93,586.56.

Being fully advised of the relevant facts, the Court hereby finds that at
least $93,586.56 was obtained by the Defendant from his participation in the
conspiracy to commit mail fraud and wire fraud, for which he pleaded guilty.

Accordingly, it is hereby:

ORDERED, ADJUDGED, and DECREED that for good cause
shown, the United States of America's Motion for Order of Forfeiture (Doc.
17) is GRANTED.

It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(©),
28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal
Procedure, the Defendant shall be held personally liable for an order of

forfeiture in the amount of $93,586.56.
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It is FURTHER ORDERED that, because the $93,586.56 in proceeds
was dissipated by the Defendant, the United States may seek, as a substitute
asset, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461,
forfeiture of any of the Defendant’s property up to the value of $93,586.56.

It is FURTHER ORDERED that, upon entry, this order shall become a
final order of forfeiture as to the Defendant.

The Court retains jurisdiction to address any third party claim that may
be asserted in these proceedings, to enter any further order necessary for the
forfeiture and disposition of such property, and for any substitute assets that
the United States may be entitled to seek up to the amount of the order of
forfeiture.

DONE and ORDERED in Tampa, Florida, this 6th day of March,
2018.

C drwJards- Q
Charlene Edwards Honeywell
United States District Judge

Copies to:
Suzanne C. Nebesky, AUSA
Counsel of Record
